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AO 106A (08/18) Application for a Warrant by Telephone or Other Reliable Electronic Means


                                      UNITED STATES DISTRICT COURT
                                                                         for the
                                                         Southern District of California

              In the Matter of the Search of                                 )
         (Briefly describe the property to be searched                       )
                                                                                                       '22 MJ1925 KSC
          or identify the person by name and address)                        )              Case No.
              White Samsung Cellular Phone                                   )
              Case Number: SYS-22-05-0476                                    )
                                                                             )
                    ("Target Device 2")

    APPLICATION FOR AWARRANT BY TELEPHONE OR OTHER RELIABLE ELECTRONIC MEANS
        I, a federal law enforcement officer or an attorney for the government, request a search warrant and state under
penalty of perjury that I have reason to believe that on the following person or property (identify the person or describe the
property to be searched and give its location):
 See Attachment A-2, incorporated herein by reference.

located in the                                 District of
                          Southern
person or describe the property to be seized):
                                                                      - - - - - - - , there is now concealed (identify the
                                                                    California
                                                                -----
 See Attachment 8, incorporated herein by reference.

          The basis for the search under Fed. R. Crim. P. 4 I (c) is (check one or more):
               tf evidence of a crime;
                 •   contraband, fruits of crime, or other items illegally possessed;
                 •   property designed for use, intended for use, or used in committing a crime;
                 •   a person to be arrested or a person who is unlawfully restrained.
          The search is related to a violation of:
             Code Section                                                               Offense Description

        8, USC sec. 1324                          Alien Smuggling


          The application is based on these facts:
        See Attached Affidavit of CBP Officer Adriana A. Bums, U.S. Customs and Border Protection, incorporated herein
        by reference.

          if Continued on the attached sheet.
          • Delayed notice of _ _ days (give exact ending date ifmore than 30 days:                        - - - - - ) is requested under
               18U.S.C.§3103a, the basis of which is set forth on the attached sheet.


                                                                                                       Applicant's signature

                                                                                 Adriana A. Bums, U.S. Customs and Border Protection
                                                                                                  Printed name and title

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4. I by
                           telephone                                (specify reliable electronic means).


Date:           05/31/2022
                                                                                                           Judge's signature
City and state: San Diego, California                                              Hon. KAREN S. CRAWFORD, U.S. Magistrate Judge
                                                                                                  Printed name and title
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 1                                         AFFIDAVIT

 2              I, Adriana A. Bums, being duly sworn, hereby state as follows:

 3                                      INTRODUCTION

 4
             1.   I submit this affidavit in support of an application for warrant(s) to search
     the following electronic devices (collectively referred to as "Target Devices"):
 5
                          Black iPhone Cellular Phone
 6
                          Case Number: SYS-22-05-0476
 7                        ("Target Device 1")

 8
                          White Samsung Cellular Phone
 9
                          Case Number: SYS-22-05-0476
10                        ("Target Device 2")

11
     as further described in Attachment A-1 and A-2, and to seize evidence of crime,
12 specifically, violations of Title 8, United States Code, Section 1324 (Alien Smuggling), as
     further described in Attachment B.
13
           2.       The requested warrant( s) relate( s) to the investigation and prosecution of
14
     Bryan CASTANEDO-Santiago for bringing illegal aliens into the United States. The
15 Target Devices are currently in the custody of Department of Homeland Security, Customs
     and Border Protection, 720 E. San Ysidro Blvd., San Ysidro, CA.
16
           3.       The facts set forth in this affidavit are based upon my personal observations,
17
     my training and experience, and information obtained from various law enforcement
18 personnel and witnesses, including my review of reports prepared by other law
     enforcement officers and agents. This affidavit is intended to show that there is sufficient
19

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 1 probable cause for the requested warrant and does not purport to set forth all of my
     knowledge of the investigation into this matter. Dates and times are approximate.
 2

 3
                                 TRAINING AND EXPERIENCE
 4
           4.     I have been employed by U.S. Customs and Border Protection since 2008 and
 5 am currently assigned to the San Ysidro Criminal Enforcement Unit. I graduated from the
     CBP Basic Academy at the Federal Law Enforcement Training Center in Glynco, Georgia.
 6
     I am a Federal Law Enforcement Officer within the meaning of Rule 41(a)(2)(C), Federal
 7
     Rules of Criminal Procedure and have been a Federal Law Enforcement Officer for
 8 fourteen years. I am authorized by Rule 41(a) Federal Rules of Criminal Procedure to
     make applications for search and seizure warrants and serve arrest warrants. I have
 9
     experience and have received training with respect to conducting investigations of
lO immigration and criminal violations of Titles 8, 18, 19, and 21 of the United States Code.
11         5.     My current duties involve the preparation of criminal and administrative cases
     for prosecution, including the use of linking related subjects and information via electronic
12
     equipment and telephones. In the course of my duties, I investigate and prepare for
13
     prosecution cases against persons involved in the inducement, transportation, and
14 harboring of illegal aliens into and within the United States; and the utilization of illegally-
15 obtained, counterfeit, altered or genuine immigration documents by illegal aliens to
     illegally gain entry or remain in the United States.
16                During my tenure as a CBP Officer, I have participated in the investigation of
           6.
17 a number of cases involving the smuggling of aliens from Mexico into the United States
     and transportation of illegal aliens within the United States, which have resulted in the
18
     issuance of arrest warrants, search warrants, seizure warrants, and the indictments of
19
     persons for alien smuggling, including drivers, passengers, and guides.
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                                                 2

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 1
            7.    Through the course of my training, investigations, and conversations with
 2
     other law enforcement personnel, I have gained a working knowledge of the operational
 3
     habits of alien smugglers and alien transporters, in particular those who attempt to smuggle
 4 aliens into the United States from Mexico and transport them throughout the Southern
     District of California. I am aware that it is a common practice for alien smugglers to work
 5
     in concert with other individuals and to do so by utilizing cellular telephones to maintain
 6
     communications with co-conspirators and/or illegal aliens in order to further their criminal
 7 activities. Because they are mobile, the use of cellular telephones permits alien smugglers
     and transporters to easily carry out various tasks related to their smuggling activities,
 8
     including, e.g., remotely monitoring the progress of the aliens while the aliens are in transit,
 9
     providing instructions to transporters, guiding aliens to specific pick up locations, warning
10 accomplices about law enforcement activity in the area and the status of check-point
     operations, and communicating with co-conspirators who guide aliens, coordinate drop off
11
     locations, and/or operate alien stash houses.
12         8.     The smuggling of aliens generates many types of evidence, including, but not
13 limited to, cellular phone-related evidence such as voicemail messages referring to the
     arrangements of travel, names, photographs, text messaging (via SMS or other
14
     applications), and phone numbers of co-conspirators and illegal aliens. For example,
15
     drivers and passengers responsible for transporting illegal aliens are typically in telephonic
16 contact with co-conspirators immediately prior to and/or following the crossing of the
     illegal aliens at the border, at which time they receive instructions, including where to pick-
17
     up the illegal aliens for transportation into the United States and where to take the illegal
18
     aliens after crossing into the United States. These communications may also include
19 locations for delivery to stash houses and/or sponsors. Illegal aliens also are typically in
     telephonic contact with co-conspirators prior to and following their crossing in order to
20
                                                     3

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 1 make smuggling arrangements, receive instructions, and report their locations after
     crossing. It is common for alien smugglers to be in contact with co-conspirators weeks to
 2
     months in advance of an event to recruit drivers and to coordinate the event. It is also
 3
     common for co-conspirators to continue to contact each other by phone calls, social media,
 4 or messaging applications when contact is lost with the driver after an apprehension has
     occurred.
 5

 6
           9.     Based upon my training, experience, and consultations with law enforcement
 7 officers experienced in alien smuggling investigations, and all the facts and opinions set
     forth in this affidavit, I know that cellular telephones (including their Subscriber Identity
 8
     Module (SIM) card(s)) can and often do contain electronic evidence, including, for
 9
     example, phone logs and contacts, voice and text communications, and data, such as
10 emails, text messages, chats and chat logs from various third-party applications,
     photographs, audio files, videos, and location data. In particular, in my experience and
11
     consultation with law enforcement officers experienced in alien smuggling investigations,
12
     I am aware that individuals engaged in alien smuggling may store photos and videos on
13 their cell phones that reflect or show co-conspirators and associates engaged in alien
     smuggling, as well as images and videos with geo-location data identifying alien smuggling
14
     transportation routes, and communications to and from recruiters and organizers.
15
           10.    This information can be stored within disks, memory cards, deleted data,
16 remnant data, slack space, and temporary or permanent files contained on or in the cellular
     telephone. Specifically, searches of cellular telephones may yield evidence:
17
           a.     tending to indicate efforts to smuggle aliens from Mexico into the United
18
                  States;
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 1         b.     tending to identify accounts, facilities, storage devices, and/or services-such
                  as email addresses, IP addresses, and phone numbers-used to facilitate alien
 2
                  smuggling and transportation of smuggled aliens;
 3
           c.     tending to identify co-conspirators, criminal associates, or others involved in
 4                alien smuggling, or transportation of smuggled aliens;
           d.     tending to identify travel to or presence at locations involved in the smuggling,
 5
                  transportation, or harboring of illegal aliens, such as stash houses, load houses,
 6
                  or deli very points;
 7         e.     tending to identify the user of, or persons with control over or access to, the
                  Target Device(s ); and/or
 8
           f.     tending to place in context, identify the creator or recipient of, or establish the
 9
                  time of creation or receipt of communications, records, or data involved in the
10                activities described above.

11
                           FACTS SUPPORTING PROBABLE CAUSE
12         11.    On May 27, 2022, at approximately 3:34 A.M., Bryan CASTANEDO-
13 Santiago (D 1), a United States citizen, applied for admission into the United States from
     Mexico through the San Ysidro, California Port of Entry, as the driver of a Dodge Intrepid
14
     bearing California license plates. Accompanying D 1 were two passengers, Julio Cesar
15
     PINEDA (D2), a United States citizen, and a male later identified as Diego CHAVEZ-
16 Segura (Material Witness). Upon inspection before a United States Customs and Border
     Protection (CBP) Officer, Dl presented California identification cards for himself and the
17
     passengers. The California identification card D 1 presented for Material Witness, bared the
18 name J.N.V. D1 told the CBP Officer they were going to Los Angeles, California. The

19 CBP Officer noticed Material Witness did not resemble the photo on the California
     identification card presented on his behalf. The CBP Officer conducted routine queries and
20
                                                  5

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 1 received a computer-generated alert for Dl and D2. All occupants were secured and
     escorted to secondary inspection. The vehicle was driven to the vehicle secondary lot for
 2
     further inspection.
 3
           12.    In secondary inspection, Material Witness' true name and nationality was
 4 ascertained. Material Witness revealed his true name as Diego CHAVEZ-Segura, a citizen
     of Mexico without valid documents to enter, pass through or remain in the United States;
 5
     he is now being held as a Material Witness.
 6
           13.    During a video recorded interview, Material Witness admitted he is a citizen
 7 of Mexico without documents to enter the United States. Material Witness stated that he
     made the arrangements with an unknown person. Material Witness admitted he was going
 8
     to pay $12,000.00 USD upon successful entry into the United States. Material Witness
 9
     stated he was going to Reno, Nevada to be with family and to seek employment. Material
10 Witness stated he was picked up in downtown Tijuana by Dl and D2. Material Witness
     stated Dl and D2 repeatedly told him to remain calm and not be nervous. Material Witness
11
     stated on the way to the border, Dl and D2 asked how he was doing with memorizing the
12
     information on the document.
13         14.    The Black iPhone Cellular Phone Target Device 1 and White Samsung
     Cellular Phone Target device 2, were discovered in CASTANEDO's personal effects and
14
     were subsequently seized.
15
           15.    Based upon my expenence and training, consultation with other law
16 enforcement officers experienced in alien smuggling investigations, and all the facts and
     opinions set forth in this affidavit, I believe that telephone numbers, contact names,
17
     electronic mail (email) addresses, appointment dates, messages, pictures and other digital
18
     information are stored in the memory of the Target Device. In light of the above facts and
19 my experience and training, there is probable cause to believe that Defendant was using
     the Target Device to communicate with others to further the smuggling of illegal aliens
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                                               6

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 1 into the United States. Further, in my training and experience, alien smugglers may be
     involved in the planning and coordination of transporting and smuggling events in the days
 2
     and weeks prior to an event. Co-conspirators are also often unaware of a defendant's arrest
 3
     and will continue to attempt to communicate with a defendant after their arrest to determine
 4 the whereabouts of the aliens. Based on my training and experience, it is also not unusual
     for individuals, such as Defendant, to attempt to minimize the amount of time they were
 5
     involved in their smuggling activities, and for the individuals to be involved for weeks and
 6
     months longer than they claim. Accordingly, I request permission to search the Target
 7 Device for data beginning on April 27, 2022, up to and including May 27, 2022.

 8
                                        METHODOLOGY
 9
           16.    It is not possible to determine, merely by knowing the cellular telephone's
10 make, model and serial number, the nature and types of services to which the device is
     subscribed and the nature of the data stored on the device. Cellular devices today can be
11
     simple cellular telephones and text message devices, can include cameras, can serve as
12
     personal digital assistants and have functions such as calendars and full address books and
13 can be mini-computers allowing for electronic mail services, web services and rudimentary
     word processing. An increasing number of cellular service providers now allow for their
14
     subscribers to access their device over the internet and remotely destroy all of the data
15
     contained on the device. For that reason, the device may only be powered in a secure
16 environment or, if possible, started in "flight mode" which disables access to the network.
     Unlike typical computers, many cellular telephones do not have hard drives or hard drive
17
     equivalents and store information in volatile memory within the device or in memory cards
18
     inserted into the device. Current technology provides some solutions for acquiring some of
19 the data stored in some cellular telephone models using forensic hardware and software.
     Even if some of the stored information on the device may be acquired forensically, not all
20
                                                7
21
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 1 of the data subject to seizure may be so acquired. For devices that are not subject to forensic
     data acquisition or that have potentially relevant data stored that is not subject to such
 2
     acquisition, the examiner must inspect the device manually and record the process and the
 3
     results using digital photography. This process is time and labor intensive and may take
 4 weeks or longer.
           18.    Following the issuance of this warrant, a case agent familiar with the
 5
     investigation will collect the subject cellular telephone and subject it to analysis. All
 6
     forensic analysis of the data contained within the telephone and its memory cards will
 7 employ search protocols directed exclusively to the identification and extraction of data
     within the scope of this warrant.
 8
           19.    Based on the foregoing, identifying and extracting data subject to seizure
 9
     pursuant to this warrant may require a range of data analysis techniques, including manual
10 review, and, consequently, may take weeks or months. The personnel conducting the
     identification and extraction of data will complete the analysis within ninety (90) days of
11
     the date the warrant is signed, absent further application to this court.
12

13                      PRIOR ATTEMPTS TO OBTAIN TIDS EVIDENCE
           20.    Law enforcement has not previously attempted to obtain the evidence sought
14
     by this warrant.
15

16                                         CONCLUSION
           21.    Based on the facts and information set forth above, there is probable cause to
17
     believe that a search of the Target Devices will yield evidence of alien smuggling
18
     violation of Title 8, United States Code, Sections 1324.
19

20
                                                  8

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 1         22.   Because the Target Devices were seized at the time of CASTANEDO' s arrest
     and have been securely stored since that time, there is probable cause to believe that such
 2
     evidence continues to exist on the Target Devices. As stated above, I believe that the
 3
     appropriate date range for this search is from April 27, 2022, through May 27, 2022.
 4
           23.   Accordingly, I request that the Court issue warrants authorizing law
 5
     enforcement to search the items described in Attachment A-1 and A-2, and seize the items
 6
     listed in Attachment B using the above-described methodology.
 7         I swear the foregoing is true and correct to the best of my knowledge and belief.

 8                                                             (I        I


 9
                                           Adriana A. Bums, CBP Officer
10
     Sworn and attested to under oath by telephone, in accordance with Federal Rule of
11
     Criminal Procedure 4.1, this 31 st day of May, 2022.
12

13
   HON. KAREN S. CRAWFORD
14 United States Magistrate Judge

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                                                9

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 1                                  ATTACHMENT A-2

 2
                               PROPERTY TO BE SEARCHED
 3

4 The following property is to be searched:

5 White Samsung Cellular Phone
   Case Number: SYS-22-05-0476
 6 ("Target Device 2")

 7 Target Device 2 is currently in the custody of the Department of Homeland Security,
     Customs and Border Protection, 720 E. San Ysidro Blvd., San Ysidro, CA.
8

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                                      ATTACHMENT B
 1
                                    ITEMS TO BE SEIZED
 2

 3      Authorization to search the cellular telephone described in Attachment A-2
  includes the search of disks, memory cards, deleted data, remnant data, slack space, and
4
  temporary or permanent files contained on or in the cellular telephone for evidence
  described below. The seizure and search of the cellular telephone shall follow the
5
  search methodology described in the affidavit submitted in support of the warrant.
 6

 7      The evidence to be seized from the cellular telephone will be electronic records,
  communications, and data such as emails, text messages, chats and chat logs from
8 various third-party applications, photographs, audio files, videos, and location data, for
  the period of April 27, 2022 to May 27, 2022:
 9

10         a.    tending to indicate efforts to smuggle aliens from Mexico into the United
                 States;
11
           b.    tending to identify accounts, facilities, storage devices, and/or services-
12               such as email addresses, IP addresses, and phone numbers-used to
                 facilitate alien smuggling and transportation of smuggled aliens;
13
           C.    tending to identify co-conspirators, criminal associates, or others involved
14               in alien smuggling, or transportation of smuggled aliens;
           d.    tending to identify travel to or presence at locations involved in the
15
                 smuggling, transportation, or harboring of illegal aliens, such as stash
                 houses, load houses, or delivery points;
16
           e.    tending to identify the user of, or persons with control over or access to,
17               the Target Device 1; and/or

18         f.    tending to place in context, identify the creator or recipient of, or establish
                 the time of creation or receipt of communications, records, or data involved
19               in the activities described above,

20
     which are evidence of violations of Title 8, United States Code, Section 1324.
21
